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United States District Court

SOUTHERN DISTRICT OF INDIANA

UNITED sTATEs oF AMERICA
CRIMINAL COMPLAINT

vi

DANIEL MORRIS DOYLE CASE NUMBER: 1:18-mj-00192

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my
knowledge and belief.

On or between January 27, 2018 and February 28, 2018 in Johnson County, in the Southem District of
Indiana, and elsewhere Daniel Morris Doyle committed the following criminal offenses:

Count 1: Doyle knowingly distribute visual depictions of a minor child engaging in sexually explicit
conduct, in violation of 18 U.S.C. § 2252(a)(2) and (b)(l) and (b)(2);

Count 2: Doyle knowing possessed visual depictions of a minor child engaging in sexually explicit
conduct, in violation of 18 U.S.C. § 2252(a)(4)(B) and (b)(l)and(2).

I further state that I am a Special Agent, and that this complaint is based on the following facts:

SEE ATTACHED AFFIDAVIT

Continued on the attached sheet and made a part hereof.

 

. Michae Davi nson, Special Agent, HSI
Sworn to before me, and subscribed in my presence

March 1, 2018 . ry at Indianapolis, Indiana
Date

 

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Debra McVicker Lynch, U.S. Magistrate Judge M`L,%/l/(/

Narne and Title of Judicial Officer Signature of dudicial dfficer

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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Special Agent Michael Johnson, being duly sworn, hereby depose and state

as follows:
INTRODUCTION AND AGENT BACKGROUND

1. Affiant: l am a Special Agent with the Department of Homeland
Security, Homeland Security lnvestigations (“HSI”). l am currently assigned to the
Ofiice of the Resident Agent in Charge, lndianapolis, Indiana (RAC/IP). l have
been employed as a Special Agent with HSI since February of 2006. Before being
appointed as a Special Agent with HSI, l was a Police Officer for the City of
Indianapolis for approximately eleven years. The last four years, l was assigned to
a federal task force. During my experience with both agencies, l have been involved
in numerous investigations, including those involving production, advertising,
distribution and possession of child pornography l have had training through the
Federal Law Enforcement Training Center, HSI, the Indiana State Police, Office of
Juvenile Justice Prevention, the United States Attorney’s Office, and Project Safe
Childhood in investigating computer related crimes and child exploitation Since
being employed with HSI, l was temporarily assigned to HSl’s Cyber Crimes Center
(C3). During that assignment, l worked on active undercover cyber investigations
as well as the cataloging of over 10,000 images and videos of child pornography l
have been involved in over 100 investigations pertaining to the sexual exploitation

of children.

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2. Probable Cause: For the reasons listed below, there is probable cause
to believe that Daniel Morris Doyle (DOYLE) with a DOB of XX-XXX-1985
(known to affiant, but redacted) has committed the following offenses in the
Southern District of Indiana and elsewhere:
a. Count 1: Distribution of a Visual Depiction of a Minor
Engaging in Sexually Explicit Conduct: On or between January 27 ,
2018 and February 28, 2018, within the Southern District of Indiana and
elsewhere, DANIEL DOYLE knowingly distributed and received visual
depictions, using any means or facility of interstate or foreign commerce, by
any means including by computer, where the producing of such visual
depictions involves the use of a minor engaging in sexually explicit conduct,
and such visual depictions are of such conduct, including at least one visual
depiction of a child who the Defendant knew to be prepubescent or less than
12 years of age and DANIEL DOYLE has a prior conviction under the laws
of any State relating to aggravated sexual abuse or sexual abuse, in violation
of 18 U.S.C. § 2252(a)(2) and (b)(l) and (b)(2);
b. Count 2: Possession of a Visual Depiction of a Minor
Engaging in Sexually Explicit Conduct: On or between January 27 ,
2018 and February 28, 2018, within the Southern District of Indiana and
elsewhere, DANIEL DOYLE knowingly possessed matter which contains
any visual depiction that has been mailed, or has been shipped or transported

using any means or facility of interstate or foreign commerce or in or

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affecting interstate or foreign commerce, or which was produced using

materials which have been mailed or so shipped or transported, by any

means including by computer, where the producing of such visual depiction
involves the use of a minor engaging in sexually explicit conduct, and such

visual depiction is of such conduct, including at least one visual depiction of a

child who the Defendant knew to be prepubescent or less than 12 years of age

and DANIEL DOYLE has a prior conviction under the laws of any State

relating to aggravated sexual abuse or sexual abuse, in violation of 18 U.S.C.

§ 2252(a)(4)(B) and (b)(l)and(2);

3. Child Pornography Trafficking (18 U.S.C. § 2252): This
investigation concerns alleged violations of 18 U.S.C. § 2252, which prohibits a
person from knowingly transporting, shipping, receiving, distributing, reproducing
for distribution, or possessing any visual depiction of minors engaging in sexually
explicit conduct when such visual depiction was either mailed or shipped or
transported in interstate or foreign commerce by any means, including by computer,
or when such visual depiction was produced using materials that had traveled in
interstate or foreign commerce. There are additional penalties for offenders who
possession, distribution, receipt, reproduction, or transportation of visual depictions
includes visual depictions of pre-pubescent children or children who are less than 12
years of age. There are also additional penalties for offenders who violate this
section after they have a prior conviction for an offense under this chapter, section

1591, chapter 71, chapter 109A, or chapter 117 , or under section 920 of title 10

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(article 120 of the Uniform Code of Military Justice), or under the laws of any State
relating to aggravated sexual abuse, sexual abuse, or abusive sexual conduct
involving a minor or ward, or the production, possession, receipt, mailing, sale,
distribution, shipment, or transportation of child pornography, or sex trafficking of
children.

4. Definitions: The following definitions apply to this Affidavit:

a. The term “rninor,” as defined in 18 U.S.C. § 2256(1), refers to
any person under the age of eighteen years.

b. The term “sexually explicit conduct,” 18 U.S.C. § 2256(2)(A)(i-v),
is defined as actual or simulated (a) sexual intercourse, including genital-
genital, oral-genital, anal-genital, or oral-anal, whether between persons of
the same or opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or
masochistic abuse; or (e) lascivious exhibition of the genitals or pubic areas of
any person.

c. The term “visual depiction,” as defined in 18 U.S.C. § 2256(5),
includes undeveloped film and videotape, data stored on computer disc or
other electronic means which is capable of conversion into a visual image,
and data which is capable of conversion into a visual image that has been
transmitted by any means, whether or not stored in a permanent format.

d. The term “computer,” as defined in 18 U.S.C. §1030(e)(1), means
an electronic, magnetic, optical, electrochemical, or other high speed data

processing device performing logical, arithmetic, or storage functions, and

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includes any data storage facility or communications facility directly related
to or operating in conjunction with such device.

e. The term “lnternet Service Providers” (lSPs), as used herein, are
commercial organizations that are in business to provide individuals and
businesses access to the lnternet. ISPs provide a range of functions for their
customers including access to the lnternet, web hosting, email, remote
storage, and co-location of computers and other communications equipment.

f. The term “lnternet Protocol address” (IP address), as used
herein, is a code made up of numbers separated by dots that identifies a
particular computer on the lnternet. Every computer requires an IP address
to connect to the lnternet. IP addresses can be dynamic, meaning that the
ISP assigns a different unique number to a computer every time it accesses
the lnternet. IP addresses might also be static, if an ISP assigns a user’s
computer a particular IP address which is used each time the computer
accesses the lnternet.

g. Twitter: Twitter is an online social media platform. Users can
interact through text posts, messages, and the posting/sharing of digital
images and videos.

h. Cyber Tipline / Reports: The National Center for Missing
and Exploited Children (NCMEC) operates a reporting mechanism known as
the NCME Cyber Tipline. The Cyber Tipline provides the public and

electronic service providers (ESPs) with the ability to report online (and via

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toll-free telephone) instances of online enticement of children for sexual acts,
extra-familial child sexual molestation, child pornography, child sex tourism,
child sex trafficking, unsolicited obscene materials sent to a child, misleading
domain names, and misleading words or digital images on the lnternet.
NCMEC continuously reviews Cyber Tipline reports to ensure that reports of
children who may be in imminent danger get first priority. After NCMEC’s
review is completed, all information in a Cyber Tipline report (hereinafter
referred to as “CT”) is made available to law enforcement
5. Case Overview - Daniel Doyle: On February 28, 2018, the
Department of Homeland Security along with the Hamilton County Crimes Against
Children Task Force executed search warrants on DOYLE’s person as well as his
vehicle at 2114 Sheek Rd, Greenwood, IN 46143. Present was DOYLE, who was
advised of his Miranda rights and interviewed. He admitted to knowingly
distributing and receiving visual depictions of minors engaging in sexually explicit
conduct through Twitter. Evidence recovered from Doyle’s iPhone showed the
defendant’s involvement in distributing, receiving, and possessing child
pornography, including images of pre-pubescent children and toddlers, as well as
images of children being sexually abused.
6. Obtaining Search Warrant: l obtained search warrants from the
Federal District Court for the Southern District of Indiana on February 28, 2018.
They authorized a search of Doyle, a residence, and Doyle’s vehicle. The

information used to support the warrant includes the following:

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a. Investigation of Twitter user Para_Cure: In January 2018,
NCMEC received a CT from Twitter regarding account “Para*Cure”
(“Suspect Account”). According to the information contained in the CT, on
January 27 , 2018, a user of the Suspect Account uploaded the image file
JeTaDihS.jpg. The CT indicated that the file had been viewed by Twitter.
The file depicts a pre-pubescent male child who is nude from at least the
waist down. The victim is lying on his back with his legs spread. An adult
male’s penis is being inserted into the child’s rectum.

b. Twitter provided information related to the account including
subscriber information, IP addresses for account login/access, and additional
image and video files associated with the account.

c. User provided information: The user of the Suspect Account
provided the following information during the creation and/or use of the
Suspect Account:

i. Email: para_cure@aol.com
ii. Profile: Fan of the Boston Red Sox, Dallas Cowboys and
Indy Fuel. always down for a chat about almost anything. Hl\/[U if u
want. Uncle. 0+.
d. Comcast subscriber information: Among the login IP
addresses associated with use of the “Para_Cure” Twitter account was the lP
Address 96.82.45.33. During dates and times relevant to the Suspect

Account being accessed, this IP address was used by an internet service

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located at a bookstore called “The Book Table” located at 8400 East 33rd
Street, lndianapolis, Indiana 46226.

e. Identification of Daniel Doyle: lncluded in the files provided
by Twitter in the CT were a number of images of a particular adult male.

i. lncluded in the same group of files were images that
appear to have been taken during events associated with the Indy Fuel
hockey team inside the Indiana Farmers Coliseum at the Indiana
State Fairgrounds in lndianapolis, Indiana.

ii. On February 27 , 2018, l located the particular adult male
featured in the images on the Para-Cure Twitter account. He was at
the Indiana State Fairgrounds. l observed this adult male get into a
vehicle alone and drive away from the fairgrounds.

iii. According the Indiana Bl\/IV, this vehicle was registered to
DANIEL DOYLE at Xxxx Branifield Drive, Franklin, Indiana
46131 (exact address redacted but known to affiant).

iv. The adult male depicted in the images in the Para_Cure
Twitter account appeared to be the same adult male in the Indiana
Bl\/[V photo associated with the name found on the vehicle registration,
Daniel Doyle.

v. Doyle is a registered sex offender as a result of a State of

Tennessee conviction of sexual battery.

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vi. ln reviewing records associated with Doyle’s sex offender

registration, Doyle in fact works at “The Book Table” located at 8400

East 331d Street, Indianapolis, Indiana 46226. Doyle provided the

Johnson County Indiana Sheriff’ s Department the email address of

para_cure@aol.com as an email address for Doyle.

vii. The sex offender registry also indicates that Doyle resides

at the Branifield address.

7. Search Warrant Execution: On February 28, 2018, the search
warrant was served on DANIEL DOYLE at 2114 Sheek Rd, Greenwood, IN 46143.
8. Doyle Interview: DOYLE was advised of his Miranda rights and
agreed to be interviewed. He provided the following information:

a. DOYLE admitted to being Twitter user “Para_Cure” and to
using this account to traffic in child pornography

b. DOYLE admitted to using multiple online platforms to traffic in
child pornography including twitter, Kik, wickr and Telegram.

c. DOYLE was shown the file described in paragraph 6a. DOYLE
admitted to having received that file via Twitter. l

d. DOYLE admitted to having stored child pornography on his
Apple l-phone and on a Dropbox cloud storage account that he had created.

e. DOYLE indicated that he is sexually attracted to children of any

age.

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9. Forensic Examination: On-Scene examinations were performed on
Doyle’s iPhone, which was found inside of Doyle vehicle, pursuant to the search
warrant. The examination revealed the following information:

a. DOYLE is using the applications listed in paragraph 8b to
distribute and receive child pornography

b. F iles depicting child pornography, including the file described in
6a were discovered in the logical storage on DOYLE’s l-phone.

c. Doyle was engaging in explicit chat about the sexual abuse of
children with whom DOYLE is acquainted or to which DOYLE has access.
10. Doyle distributed and received sexually explicit images of children

while he was located in the Southern District of Indiana. The lnternet, used to
transmit visual depictions of minors engaged in sexually explicit conduct, is a
means and facility of interstate and foreign commerce. The iPhone recovered from
DOYLE was manufactured outside of the State of Indiana.

11. The offense of Sexual Battery in the State of Tennessee is defined as
follows:

a. Sexual battery is unlawful sexual contact with a victim by the
defendant or the defendant by a victim accompanied by any of the following
circumstances: Force or coercion is used to accomplish the act; The sexual
contact is accomplished without the consent of the victim and the defendant
knows or has reason to know at the time of the contact that the victim did not

consent; The defendant knows or has reason to know that the victim is

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mentally defective, mentally incapacitated or physically helpless; or the
sexual contact is accomplished by fraud.
b. Sexual battery is a Class E felony
12. Conclusion Based upon the contents of this Affidavit, there is
probable cause to believe that Daniel Doyle has committed the above listed
offenses l respectfully request that the Court issue a Criminal Complaint and

Arrest Warrant for Daniel Doyle charging him with e listed above.

   

 

Michael Da id Johnson, Special Agent
Homeland Sec ' y» estigations

Subscribed and sworn before me this 1St day of March, 2018

M/§/¢` Z,/c,`
Debra McVicker I:y,néi h

United States/l\/[agistrate Judge
Southern District of Indiana f

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